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                                                 The First State


           I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF

   DELAWARE, DO HEREBY CERTIFY THE ATTACHED ARE TRUE AND CORRECT

   COPIES OF ALL DOCUMENTS ON FILE OF “PRITHVI SOLUTIONS, INC.” AS

   RECEIVED AND FILED IN THIS OFFICE.

           THE FOLLOWING DOCUMENTS HAVE BEEN CERTIFIED:

           CERTIFICATE OF INCORPORATION, FILED THE TWENTY-SEVENTH DAY

   OF JUNE, A.D. 2007, AT 2:29 O`CLOCK P.M.

           CERTIFICATE OF REVIVAL, FILED THE ELEVENTH DAY OF AUGUST,

   A.D. 2020, AT 10:03 O`CLOCK A.M.

           AND I DO HEREBY FURTHER CERTIFY THAT THE AFORESAID

   CERTIFICATES ARE THE ONLY CERTIFICATES ON RECORD OF THE

   AFORESAID CORPORATION, “PRITHVI SOLUTIONS, INC.”.




4379418 8100H                                                               Authentication: 203456864
SR# 20206704670                                                                         Date: 08-12-20
You may verify this certificate online at corp.delaware.gov/authver.shtml
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